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                                                                                              6   Counsel for Shelley D. Krohn, Chapter 7 Trustee

                                                                                              7
                                                                                              8                                 UNITED STATES BANKRUPTCY COURT
                         9205 West Russell Road, Building 3, Suite 240 Las Vegas, NV 89148




                                                                                              9                                           DISTRICT OF NEVADA
                               Telephone: (702) 720-3370 Facsimile: (702) 720-3371




                                                                                             10       In re:                                         Case No. BK-S-19-15333-MKN
                                                                                                                                                     Chapter 7
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                                                                                             11       LAS VEGAS LAND PARTNERS, LLC,
                                                                                                                                                     STIPULATION RESOLVING
                                                                                             12                       Debtor.                        OBJECTIONS TO THE MOTION TO
                                                                                                                                                     APPROVE: (1) THE SALE OF REAL
                                                                                             13                                                      PROPERTY PURSUANT TO 11 U.S.C. §
                                                                                                                                                     363(f); (2) COMPENSATION IN FAVOR
                                                                                             14                                                      OF CUSHMAN & WAKEFIELD U.S.,
                                                                                                                                                     INC. DBA CUSHMAN & WAKEFIELD;
                                                                                             15                                                      AND (3) REIMBURSEMENT OF
                                                                                                                                                     EXPENSES TO CGA REAL ESTATE
                                                                                             16                                                      SERVICES, LLC
                                                                                             17                                                      Judge: Honorable Mike K. Nakagawa1
                                                                                             18                Shelley D. Krohn (the “Trustee”), the duly appointed Chapter 7 Trustee in the above-

                                                                                             19   captioned bankruptcy case, by and through her counsel, Jacob L. Houmand, Esq. and Bradley G.

                                                                                             20   Sims, Esq. of the Houmand Law Firm, Ltd., FC RTC 39, LLC and FC RTC 20, LLC

                                                                                             21   (collectively, the “Forest City Entities”), Russell Nype (“Mr. Nype”) and Revenue Plus, LLC

                                                                                             22   (“RP” and together with Mr. Nype, the “Nype Parties”) by and through their counsel of record,

                                                                                             23   Matthew L. Johnson, Esq., David J. Mitchell (“Mitchell”), by and through his counsel of record,

                                                                                             24   Andrew S. Lewner, Esq., and Marc A. Pergament (“Trustee Pergament”), in his capacity as

                                                                                             25
                                                                                             26   1
                                                                                                   Unless otherwise indicated, all chapter and section references are to the Bankruptcy Code, 11
                                                                                                  U.S.C. §§ 101-1532, and to the Federal Rules of Bankruptcy Procedure, Rules 1001-9037. The
                                                                                             27   Federal Rules of Civil Procedure will be referred to as “FRCP” and the Federal Rules of
                                                                                                  Bankruptcy Procedure will be referred to as “FRBP.” The Local Rules of Practice for the United
                                                                                             28
                                                                                                  States Bankruptcy Court for the District of Nevada shall be referred to as the “Local Rules”.
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                                                                                              1   Chapter 7 Trustee for the bankruptcy estate of Barnet Louis Liberman, hereby stipulate and agree

                                                                                              2   as follows2:

                                                                                              3                                             I.     RECITALS

                                                                                              4             1.     On August 19, 2019, Las Vegas Land Partners, LLC (the “Debtor”) filed a

                                                                                              5   voluntary bankruptcy pursuant to Chapter 7 of Title 11 of the United States Code [ECF No. 1]3.

                                                                                              6             2.     On August 19, 2019, the Trustee was appointed as the Chapter 7 Trustee in the

                                                                                              7   Debtor’s bankruptcy case [ECF No. 2].

                                                                                              8             3.     The Debtor is the sole member of Wink One, LLC (“Wink One”), which owns a
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                                                                                              9   forty percent (40%) tenant-in-common interest in the real property described as the city block
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                                                                                             10   bounded by Casino Center, Bonneville, South 1st and Garces Streets, Las Vegas, Nevada [APN
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                                                                                             11   139-34-301-008] (the “Property”).

                                                                                             12             4.     The remaining sixty percent (60%) tenant-in-common interest in the Property is

                                                                                             13   owned by the Forest City Entities4.

                                                                                             14             5.     The Property is leased to the Regional Transportation Commission of Southern

                                                                                             15   Nevada (the “RTC”) on a triple net ground lease (the “Lease”) that expires on January 4, 2048.

                                                                                             16             6.     On November 17, 2023, the Trustee filed a Motion to Sell Free and Clear of Liens

                                                                                             17   Under Section 363(f) and Approve Compensation In Favor of Cushman & Wakefield U.S. Inc.

                                                                                             18   DBA Cushman & Wakefield and Reimbursement of Expenses to CGA Real Estate Services,

                                                                                             19   LLC [ECF No. 207] (the “Motion to Sell”) that sought to sell the Estate’s interest in the Property

                                                                                             20   to the RTC in exchange for the payment of $14,500,0005 to the TIC Holders.

                                                                                             21   ...

                                                                                             22
                                                                                             23   2
                                                                                                   The Trustee, the Nype Parties, the Forest City Entities, Mitchell, and Trustee Pergament shall
                                                                                             24   collectively be referred to as the “Parties”.
                                                                                                  3
                                                                                             25    All references to “ECF No.” are to the numbers assigned to the documents filed in the Debtor’s
                                                                                                  main bankruptcy case as they appear on the docket maintained by the clerk of the court.
                                                                                             26
                                                                                                  4
                                                                                                      The Forest City Entities and the Debtor shall collectively be referred to as the TIC Holders.
                                                                                             27
                                                                                                  5
                                                                                                    In addition to the $14,500,000 payment to the TIC Holders, the RTC would assume the
                                                                                             28
                                                                                                  outstanding balance of the Loan.
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                                                                                              1          7.        On January 31, 2024, Trustee Pergament filed an opposition to the Motion to Sell

                                                                                              2   [ECF No. 252] (the “Pergament Opposition”).

                                                                                              3          8.        On January 31, 2024, Mitchell filed an opposition to the Motion to Sell [ECF No.

                                                                                              4   253] (the “Mitchell Opposition” and together with the Pergament Opposition, the “Equity Holder

                                                                                              5   Oppositions”).

                                                                                              6          9.        On January 31, 2024, the Nype Parties filed the Nype Creditors’ Opposition to

                                                                                              7   Motion to Approve Sale [ECF No. 255] (the “Nype Opposition” and together with the Equity

                                                                                              8   Holder Oppositions, the “Oppositions”).
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                                                                                              9          10.       On February 28, 2024, the Court heard oral argument from the Parties on the
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                                                                                             10   Motion to Sell and the matter was taken under submission.
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                                                                                             11          11.       After the Motion to Sell was taken under submission, the Parties entered into a

                                                                                             12   settlement agreement (the “Settlement Agreement”) that resolves all disputes concerning the sale

                                                                                             13   of the Property.6

                                                                                             14          12.       The RTC has agreed to increase the amount it will pay to the TIC Holders from

                                                                                             15   $14,500,000.00 to $20,000,000.00 (the “TIC Payment”) to resolve all objections to its purchase of

                                                                                             16   the Property.

                                                                                             17          13.       The Forest City Entities have agreed to modify the division of any proceeds paid

                                                                                             18   by the RTC in excess of the original $14,500,000 payment set forth in the Motion to Sell to

                                                                                             19   increase the payment of proceeds to the Debtor’s bankruptcy estate.

                                                                                             20          14.       The Forest City Entities have agreed to receive sixty percent of the first

                                                                                             21   $14,500,000.00 of the TIC Payment, or $8,700,000.00, and an additional $500,000.00 of the

                                                                                             22   increased payment from the RTC. This results in a total payment to the Forest City Entities of

                                                                                             23   $9,200,000.00 before accounting for its portion of closing costs and commissions.

                                                                                             24          15.       The agreement with the Forest City Entities concerning a modified distribution of

                                                                                             25   sale proceeds has resulted in the Debtor’s bankruptcy estate being entitled to receive forty percent

                                                                                             26
                                                                                             27   6
                                                                                                    Nothing in this Stipulation shall be construed to modify or otherwise affect the terms of the
                                                                                                  Settlement Agreement. To the extent of any conflict between the Settlement Agreement and any
                                                                                             28
                                                                                                  description set forth herein, the Settlement Agreement shall control.
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                                                                                              1   of the first $14,500,000.00 of the TIC Payment, or $5,800,000.00, and an additional

                                                                                              2   $5,000,000.00 of the increased payment from the RTC. This results in a total payment to the

                                                                                              3   Debtor’s bankruptcy estate of $10,800,000.00 (the “Bankruptcy Proceeds”) before accounting for

                                                                                              4   its portion of closing costs and commissions.

                                                                                              5          16.     The Settlement Agreement governs, among other things, the following: (a) the

                                                                                              6   distribution of the Bankruptcy Proceeds once they have been paid to the Debtor’s bankruptcy

                                                                                              7   estate; and (b) the scope of releases between the Parties.

                                                                                              8          17.     On May 15, 2024, the Trustee filed a Motion to Approve Compromise Pursuant to
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                                                                                              9   Federal Rule of Bankruptcy Procedure 9019 [ECF No. 291] that sought to approve the Settlement
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                                                                                             10   Agreement.
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                                                                                             11          18.     On May 20, 2024, the Court entered an Order Granting Motion to Approve

                                                                                             12   Compromise Pursuant to Federal Rule of Bankruptcy Procedure 9019 [ECF No. 296] that

                                                                                             13   approved the Settlement Agreement pursuant to FRBP 9019.

                                                                                             14          19.     On July 11, 2024, the United States Bankruptcy Court for the Eastern District of

                                                                                             15   New York entered an Order [ECF No. 257] that approved the Settlement Agreement pursuant to

                                                                                             16   FRBP 9019.

                                                                                             17          20.     The RTC and the TIC Holders have modified the purchase and sale agreement (the

                                                                                             18   “Amended PSA”) to be consistent with the Settlement Agreement.

                                                                                             19          21.     Pursuant to the Amended PSA, escrow was opened at First American Title

                                                                                             20   Insurance Company (the “Title Company”).

                                                                                             21          22.     The Parties have entered into this Stipulation to effectuate the terms of the

                                                                                             22   Settlement Agreement, approve the terms of the Modified PSA, and approve the sale of the

                                                                                             23   Property free and clear of liens pursuant to Section 363(f).

                                                                                             24                                         II.     STIPULATION

                                                                                             25          IT IS HEREBY STIPULATED AND AGREED that:

                                                                                             26          1.      The Oppositions are hereby withdrawn and the Court should enter an order

                                                                                             27   approving the sale of the Property on the terms set forth in this stipulation; and

                                                                                             28   ...

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                                                                                              1          2.      The Property shall be sold to RTC on the terms set forth in the Amended PSA that

                                                                                              2   is attached hereto as Exhibit “1”; and

                                                                                              3          3.      The Property shall be sold free and clear of the following liens pursuant to 11

                                                                                              4   U.S.C. § 363(f): (a) a certified copy of a judgment or an abstract thereof, recorded January 16,

                                                                                              5   2020 in Book 20200116 as Instrument No. 03268 of Official Records; and (b) a document entitled

                                                                                              6   “Affidavit in Support of Recordation of Findings of Fact and Conclusions of Law” recorded

                                                                                              7   January 21, 2020 in Book 20200121 as Instrument No. 03287 of Official Records; (c) Deed of

                                                                                              8   Trust to secure an original indebtedness of $25,000,000.00, accreting to $30,096,194.54 recorded
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                                                                                              9   April 29, 2008 in Book 20080429 as Instrument No. 05697 of Official Records, dated April 28,
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                                                                                             10   2008; (d) Assignment of Leases and Rents recorded April 29, 2008 in Book 20080429 as
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                                                                                             11   Instrument No. 05968 of Official Records, as additional security for the payment of the

                                                                                             12   indebtedness secured by the Deed of Trust described above; and

                                                                                             13          4.      The fourteen (14) day stay under FRBP 6004(h) is waived; and

                                                                                             14          5.      The RTC shall be deemed a good faith purchaser pursuant to 11 U.S.C. § 363(m);

                                                                                             15   and

                                                                                             16          6.      The Trustee shall be paid the Bankruptcy Proceeds in the amount of gross

                                                                                             17   $10,800,000.00 from the sale of the Property before accounting for closing costs and

                                                                                             18   commissions; and

                                                                                             19          7.      The Forest City Entities shall be paid gross proceeds from the TIC Payment in the

                                                                                             20   amount of $9,200,000.00 before accounting for its portion of closing costs and commissions; and

                                                                                             21          8.      Cushman & Wakefield U.S., Inc. dba Cushman & Wakefield (“Cushman”) shall be

                                                                                             22   awarded a commission related to the sale of the Property in the total amount of $886,013.07 (the

                                                                                             23   “Cushman Commission”); and

                                                                                             24          9.      The Trustee shall be permitted to pay Cushman the bankruptcy estate’s portion of

                                                                                             25   the Cushman Commission of $354,405.23 at the closing of the Property, and the remainder of the

                                                                                             26   Cushman Commission shall be paid by the Forest City Entities; and

                                                                                             27   ...

                                                                                             28   ...

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                                                                                              1          10.     The Trustee shall be permitted to pay Woodbranch Investments Corp., acting on

                                                                                              2   behalf of its affiliates and principals and CGA Real Estate Services, LLC (collectively, “CGA”)

                                                                                              3   the sum of $11,418.10 as a break-up fee at the closing of the Property; and

                                                                                              4          11.     The remainder of the break-up fee owed to CGA from the sale of the Property shall

                                                                                              5   be paid by the Forest City Entities; and

                                                                                              6          12.     The Debtor’s bankruptcy estate includes a 100% membership interest in Wink

                                                                                              7   One, LLC (“Wink One”) and the Trustee shall be authorized to sell the interest in the Property

                                                                                              8   owned by Wink One to the RTC on the terms set forth in the Amended PSA; and
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                                                                                              9          13.     The Trustee shall be permitted sign any documentation on behalf of Wink One and
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                                                                                             10   the Debtor that is reasonably necessary to effectuate the sale of Property on the terms set forth in
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                                                                                             11   the Amended PSA without further court order; and

                                                                                             12          14.     The Title Company shall be permitted to take all actions reasonably necessary to

                                                                                             13   effectuate the sale of the Property on the terms set forth in the Amended PSA without further

                                                                                             14   court order; and

                                                                                             15          15.     The Trustee is authorized to upload a copy of the order approving this Stipulation

                                                                                             16   attached hereto as Exhibit “2”.

                                                                                             17   Dated this 29th day of July, 2024.                Dated this 29th day of July, 2024.

                                                                                             18   By: /s/ Jacob L. Houmand                          By: /s/ Matthew L. Johnson
                                                                                                  Jacob L. Houmand, Esq. (NV Bar No. 12781)         Matthew L. Johnson, Esq. (NV Bar No. 6004)
                                                                                             19   Bradley G. Sims, Esq. (NV Bar No. 11713)          Johnson & Gubler, P.C.
                                                                                                  Houmand Law Firm, Ltd.                            Lakes Business Park
                                                                                             20   9205 West Russell Road, Building 3, Suite 240     8831 West Sahara Avenue
                                                                                                  Las Vegas, Nevada 89148                           Las Vegas, Nevada 89117
                                                                                             21
                                                                                                  Counsel for Shelley D. Krohn, Chapter 7
                                                                                             22   Trustee                                           Counsel for the Nype Parties

                                                                                             23
                                                                                                  Dated this 29th day of July, 2024.                Dated this 29th day of July, 2024.
                                                                                             24
                                                                                                  By: /s/ Andrew S. Lewner                          By: /s/ Marc A. Pergament
                                                                                             25   Andrew S. Lewner, Esq.                            Marc A. Pergament
                                                                                                  Westerman Ball Ederer Miller Zucker &             400 Garden City Plaza
                                                                                             26   Sharfstein, LLP                                   Suite 309
                                                                                             27   1201 RXR Plaza                                    Garden City, New York 111530
                                                                                                  Uniondale, New York 11556
                                                                                             28
                                                                                                  Counsel for Mitchell
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                                                                                              1   Dated this 29th day of July, 2024.                        29th day of July, 2024.
                                                                                                                                                 Dated this ___

                                                                                              2   By: /s/ Joseph G. Went                         By: _______________________
                                                                                                  Gregory S. Gilbert (NV Bar No. 6310)           FC RTC 20, LLC
                                                                                              3   Joseph G. Went (NV Bar No. 9220)               Ketan K. Patel, President
                                                                                                  9555 Hillwood Drive, 2nd Floor
                                                                                              4   Las Vegas, Nevada 89134
                                                                                              5   Counsel for the RTC
                                                                                              6
                                                                                              7
                                                                                              8
                         9205 West Russell Road, Building 3, Suite 240 Las Vegas, NV 89148




                                                                                              9   Dated this ___
                                                                                                             29th day of July, 2024.
                               Telephone: (702) 720-3370 Facsimile: (702) 720-3371




                                                                                             10   By: _______________________
HOUMAND LAW FIRM, LTD.




                                                                                                  FC RTC 39, LLC
                                                                                             11
                                                                                                  Ketan K. Patel, President
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